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  U NI T E D S T A T E S DI S T RI C T C O U R T
  E A S T E R N DI S T RI C T O F N E W Y O R K



   U NI T E D S T A T E S O F A M E RI C A



   v.                                                   C as e N o.: 1: 2 1 -cr -0 0 3 7 1 -B M C -T A M



   A L M A LI K A L S H A H HI, et al.



                    D ef e n d a nts.




          R E P L Y M E M O R A N D U M I N S U P P O R T O F T H O M A S J. B A R R A C K , J R.’ S
                                M O TI O N T O C O M P E L DI S C O V E R Y
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  U nit e d St at es v. M o h a m e d ,
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     4 9 3 F. S u p p. 3 d 1 7 1 ( W. D. N. Y. 2 0 2 0) ..................................................................................... 1 1

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     9 1 F. S u p p. 2 d 5 6 5 ( S. D. N. Y. 2 0 0 0) ......................................................................................... 1 4

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     4 8 7 F. S u p p. 3 d 2 0 6 ( S. D. N. Y. 2 0 2 0) ....................................................................................... 1 0

  U nit e d St at es v. P o utr e ,
     6 4 6 F. 2 d 6 8 5 ( 1st Cir. 1 9 8 0) ..................................................................................................... 1 4

  U nit e d St at es v. R afi e ki a n ,
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                                                            I N T R O D U C TI O N

             T h e g o v er n m e nt’s o p p ositi o n o nl y s er v es t o c o nfir m t h at Mr. B arr a c k’s m oti o n t o c o m p el

  s h o ul d b e gr a nt e d . T h e g o v er n m e nt c o n c e d es it di d n ot dis cl os e i nf or m ati o n h el pf ul t o t h e

  d ef e ns e. Alt h o u g h it tri es t o d ef e n d t h at f ail ur e b y ar g ui n g t h at t h e i nf or m ati o n w as n ot

  e x c ul p at or y wit hi n t h e m e a ni n g of Br a d y , t h at ar g u m e nt r ests o n t h e g o v er n m e nt’s f u n d a m e nt al

  mis u n d erst a n di n g of t h e r e q uir e m e nts a n d s c o p e of 1 8 U. S. C. § 9 5 1.

             At its c or e, t h e o p p ositi o n r e d u c es t o t h e pr o p ositi o n t h at t h e C o urt s h o ul d tr ust t h e

  g o v er n m e nt t o c o m pl y wit h its dis c o v er y o bli g ati o ns.        W hil e s u c h tr ust is w arr a nt e d i n m a n y

  c as es, t h e g o v er n m e nt’s f ail ur e t o pr o d u c e e x c ul p at or y i nf or m ati o n i n its p oss essi o n , as w ell as

  its c o nti n u e d i nsist e n c e t h at s u c h i nf or m ati o n is n ot i n f a ct e x c ul p at or y , s h o ws it is n o l o n g er

  a p pr o pri at e. I n d e e d, o n t h e s a m e d a y t h at it fil e d its o p p ositi o n, t h e g o v er n m e nt m a d e y et

  a n ot h er dis cl os ur e “ o ut of a n a b u n d a n c e of c a uti o n ” of pl ai nl y e x c ul p at or y e vi d e n c e t h at h as

  b e e n i n its p oss essi o n si n c e S e pt e m b er 2 0 1 8 . Tri al is l ess t h a n fi v e m o nt hs a w a y, a n d Mr.

  B arr a c k c a n n ot t ol er at e t h e g o v er n m e nt’s t a cti c al p arsi n g of e x c ul p at or y e vi d e n c e i n its

  p oss essi o n t o w hi c h h e is c o nstit uti o n all y a n d st at ut oril y e ntitl e d i n or d er t o d ef e n d hi ms elf. T his

  C o urt s h o ul d a c c or di n gl y c o m p el t h e g o v er n m e nt t o dis cl os e t o t h e d ef e ns e b y n o l at er t h a n M a y

  1, 2 0 2 2 all m at eri al t o w hi c h h e is e ntitl e d p urs u a nt t o R ul e 1 6 a n d Br a d y .

                                                               A R G U ME NT

  I.         T H E G O V E R N M E N T M US T P R O D U C E A L L B R A D Y A N D R U L E 16
             M A T E RI A L I N I T S P O S S E S SI O N R E L A T E D T O T H E S E C TI O N 9 5 1
             C H A R G E S.

             T h e g o v er n m e nt w as or d er e d at t h e o uts et of t his c as e t o pr o d u c e all Br a d y i nf or m ati o n i n

  its p oss essi o n “ pr o m ptl y ” aft er its e xist e n c e b e c o m es k n o w n t o t h e g o v er n m e nt. S e e J ul y 2 6,

  2 0 2 1 Or d er, D kt. N o. 1 7 (t h e “ Br a d y Or d er ”). W hil e t h e g o v er n m e nt t h e n t ol d t h e C o urt it w as

  n ot a w ar e of a n y Br a d y i nf or m ati o n, t h at ass erti o n w as d e m o nstr a bl y wr o n g. Mr. B arr a c k’s
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  m oti o n cl e arl y est a blis h e d t h at t h e g o v er n m e nt h as b e e n w ell a w ar e of hi g hl y e x c ul p at or y

  e vi d e n c e a n d i nf or m ati o n i n its p oss essi o n, w hi c h it h as wit h h el d si n c e t h e i n c e pti o n of t his c as e

  a n d f or m o nt hs aft er Mr. B arr a c k s p e cifi c all y as k e d f or t h e i nf or m ati o n .

             U n a bl e t o dis p ut e t h at t his i nf or m ati o n h as b e e n i n t h e p oss essi o n of t h e pr os e c uti o n t e a m

  f or s e v er al y e ars, s e e O p p. 3 -5, 1 8, t h e g o v er n m e nt ar g u es i nst e a d t h at ( 1) t h e i nf or m ati o n r el at e d

  t o t h e S e cti o n 9 5 1 c h ar g es is n ot e x c ul p at or y, b ut is m er el y “s o m e w h at h el pf ul t o t h e d ef e ns e ,”

  ( 2) it n e e d o nl y pr o d u c e Br a d y m at eri al at s o m e p oi nt i n a d v a n c e of tri al, a p p ar e ntl y wit h o ut

  r e g ar d t o t h e Br a d y Or d er iss u e d i n t his c as e , ( 3) t h e C o urt c a n d e n y t his m oti o n b as e d s ol el y o n

  t h e g o v er n m e nt’s r e pr es e nt ati o n t h at it is a w ar e of its dis c o v er y o bli g ati o ns a n d h as c o m pli e d

  wit h t h e m , a n d ( 4) Mr. B arr a c k’s m oti o n is m o ot b e c a us e t h e g o v er n m e nt h as pr o d u c e d a l ar g e

  v ol u m e of m at eri als a n d will c o nti n u e t o s e ar c h f or a n d pr o d u c e m at eri als e v e n if it d o es n ot

  b eli e v e t h e y ar e e x c ul p at or y. S e e i d. at 1 7 -2 0, 2 6.

             T h es e ar g u m e nts c o nti n u e t o r efl e ct t h e g o v er n m e nt’s mis g ui d e d vi e w of its dis c o v er y

  o bli g ati o ns, p arti c ul arl y r e g ar di n g w h at i nf or m ati o n is e x c ul p at or y a n d m at eri al t o t h e

  d ef e ns e. T h e y pr o vi d e n o j ustifi c ati o n f or d e n yi n g Mr. B arr a c k’s m oti o n .

             A.         T h e E vi d e n c e at Iss u e is Pl ai nl y E x c ul p at o r y.

             W hil e a c c usi n g Mr. B arr a c k of ar g ui n g o v er “s e m a nti cs, ” t h e g o v er n m e nt at t h e s a m e

  ti m e i nsists t h at t h e i nf or m ati o n d e m a n d e d b y Mr. B arr a c k is n ot “ e x c ul p at or y ” b ut i nst e a d

  m er el y “s o m e w h at h el pf ul t o t h e d ef e ns e. ” I d. at 1 7. T h at t h e g o v er n m e nt d o es n ot vi e w as

  “ e x c ul p at or y ” e vi d e n c e t h at u n d er mi n es t h e c or e all e g ati o ns is h ar dl y s e m a nti cs; r at h er, it

  r efl e cts a f u n d a m e nt al mis u n d erst a n di n g of t h e s c o p e a n d a p pli c ati o n of S e cti o n 9 5 1. A n d it




                                                                          2
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  r ais es s eri o us c o n c er ns a b o ut w h et h er t h e g o v er n m e nt c a n or will i d e ntif y a n d dis cl os e all

  dis c o v er a bl e i nf or m ati o n t o w hi c h Mr. B arr a c k is e ntitl e d.

                        1.         T h e G o v er n m e nt Mis u n d erst a n ds S e cti o n 9 5 1’s R e q uir e m e nts a n d S c o p e.

             Ass erti n g t h at Mr. B arr a c k h as a “fl a w e d u n d erst a n di n g of t h e el e m e nts of a S e cti o n 9 5 1

  off e ns e ,” i d. at 2 1 , t h e g o v er n m e nt r e g ur git at es its o w n e x p a nsi v e, a n d pl ai nl y i n c orr e ct,

  i nt er pr et ati o n of S e cti o n 9 5 1’s r e q uir e m e nts: “ [ A] n y a ct u n d ert a k e n b y m ut u al a gr e e m e nt at t h e

  dir e cti o n or c o ntr ol of a f or ei g n g o v er n m e nt, wit h o ut pr o p er n oti c e, f alls wit hi n t h e r e a c h of t h e

  st at ut e, e v e n if t h e a g e nt d e cli n es t o a ct at t h e pri n ci p al’s dir e cti o n o n s o m e ot h er o c c asi o n. ” I d.

  ( e m p h asis a d d e d ). T h us, a c c or di n g t o t h e g o v er n m e nt, a n i n di vi d u al c a n vi ol at e S e cti o n 9 5 1 b y

  m er el y a c c e pti n g a n i n vit ati o n t o m e et a f or ei g n l e a d er ( w h o is als o o n e of t h e m ost si g nifi c a nt

  b usi n ess l e a d ers i n t h e w orl d ). S e e G o vt. O p p. t o M ot. t o Dis miss, D kt. N o. 8 0 at 5 8 -5 9.

             T his br o a d vi e w is u nt et h er e d t o t h e t e xt a n d p ur p os e of S e cti o n 9 5 1 , w hi c h i m p os es

  cri mi n al li a bilit y o n s o m e o n e o nl y if h e “ a gr e es t o o p er at e wit hi n t h e U nit e d St at es s u bj e ct t o t h e

  dir e cti o n or c o ntr ol of a f or ei g n g o v er n m e nt, ” 1 8 U. S. C. § 9 5 1 — i. e., h e h as a d ut y t o f oll o w his

  f or ei g n pri n ci p al’s dir e cti o ns. S e e B arr a c k R e pl y I S O M ot. t o Dis miss, D kt. N o. 8 3 at 5 -8. T his

  r e q uir e m e nt is w h at disti n g uis h es a cti o ns t a k e n b y s o m e o n e w h o h as e nt er e d i nt o a m ut u all y -

  a gr e e d a g e n c y r el ati o ns hi p wit h a f or ei g n pri n ci p al fr o m s o m e o n e w h o m er el y a gr e es t o f oll o w a

  r e q u est or s u g g esti o n fr o m a f or ei g n g o v er n m e nt or offi ci al. T h e R afi e ki a n c o urt m a d e e x a ctl y

  t his p oi nt i n r ej e cti n g t h e i nt er pr et ati o n of S e cti o n 9 5 1 t h at t h e g o v er n m e nt s e e ks t o r es us cit at e i n

  t his c as e: “ O n e t hi n g is cl e ar ri g ht off t h e b at: T o f all wit hi n § 9 5 1’s a m bit, a p ers o n m ust d o

  m or e t h a n a ct i n p ar all el wit h a f or ei g n g o v er n m e nt’s i nt er ests or p urs u e a m ut u al g o al. A n

  ‘a g e nt ’ f urt h er ‘a gr e es t o o p er at e … s u bj e ct t o t h e dir e cti o n or c o ntr ol ’ of t h at g o v er n m e nt. ”

  U nit e d St at es v. R afi e ki a n , 9 9 1 F. 3 d 5 2 9, 5 3 8 ( 4t h Cir. 2 0 2 1) ( e m p h asis a d d e d ).



                                                                          3
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              B as e d o n its err o n e o us i nt er pr et ati o n of S e cti o n 9 5 1, t h e g o v er n m e nt pr o c e e ds t o

  dis cl ai m t h e e x c ul p at or y n at ur e of, a n d its d ut y t o dis cl os e, s u bst a nti al e vi d e n c e m at eri al t o Mr.

  B arr a c k’s d ef e ns e. F or e x a m pl e, it c o nt e n ds Mr. B arr a c k’s o p p ositi o n t o t h e U A E’s bl o c k a d e of

  Q at ar is n ot e x c ul p at or y b e c a us e a S e cti o n 9 5 1 a g e nt is fr e e at ti m es t o a ct c o ntr ar y t o his f or ei g n

  pri n ci p al’s i nt er ests. O p p. 2 1. T his is f u n d a m e nt all y wr o n g a n d s q u ar el y at o d ds wit h S e cti o n

  9 5 1: b y d efi niti o n, a p ers o n w h o is n ot o bli g at e d t o a ct u n d er t h e f or ei g n g o v er n m e nt’s dir e cti o n

  or c o ntr ol is n ot a S e cti o n 9 5 1 a g e nt .1 B ut b y cli n gi n g t o its f a ult y vi e w of S e cti o n 9 5 1, t h e

  g o v er n m e nt h as i m p er missi bl y d efi n e d a w a y its o bli g ati o n t o dis cl os e m at eri al e vi d e n c e.

                          2.          B e c a us e t h e G o v er n m e nt Mis u n d erst a n ds S e cti o n 9 5 1, It Is N ot A bl e t o
                                      I d e ntif y W h at I nf or m ati o n Is E x c ul p at or y U n d er Br a d y or M at eri al T o
                                      T h e D ef e ns e U n d er R ul e 1 6 ( a)( 1)(E ).

              I nf or m ati o n t h at t h e g o v er n m e nt h as i nsist e d is n ot e x c ul p at or y, or e v e n r el e v a nt t o t h e

  c h ar g es, i n cl u d es ( b ut is n ot li mit e d t o):

                    •




                    •




  1
    I n d e e d, if t h e g o v er n m e nt’s pr o p os e d i nt er pr et ati o n of S e cti o n 9 5 1 was c orr e ct, it w o ul d m er el y c o nfir m
  t h at t h e st at ut e is u n c o nstit uti o n all y v a g u e as a p pli e d t o Mr. B arr a c k. If S e cti o n 9 5 1 pr o hi bits a n y a ct
  u n d ert a k e n b y m ut u al ass e nt at t h e dir e c ti o n or c o ntr ol of a f or ei g n g o v er n m e nt, it cri mi n ali z es a wi d e
  s w at h of c o n d u ct t h at is n e v er pr os e c ut e d. S e e D kt. N o. 6 7 at 7 -2 6. As a r es ult, t h e a p pli c ati o n of t h e
  st at ut e t o t h e all e g e d c o n d u ct i n t his c as e “t ur ns o n t h e l a w e nf or c e m e nt offi c er’s u n g ui d e d a n d s u bj e cti v e
  j u d g m e nt, ” a n d t h e st at ut e is u n c o nstit uti o n all y v a g u e as a p pli e d. C o p el a n d v. V a n c e , 8 9 3 F. 3 d 1 0 1, 1 2 0
  ( 2 d Cir. 2 0 1 8).

                                                                               4
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                                                         b ut a p p ar e ntl y f ail e d t o c o nsi d er t h e a b o v e i nf or m ati o n as

  e x c ul p at or y at t h at ti m e.



                                                                                     e vi d e n c e t h at

                                                          is criti c al i nf or m ati o n t h at w as n ot dis cl os e d u ntil ni n e

  m o nt hs aft er t h e i n di ct m e nt i n t his c as e.     T his d el a y is e v e n m or e e gr e gi o us i n li g ht of t h e f a ct

  t h at




             D es pit e t h e o b vi o us i m p ort a n c e of t his e vi d e n c e t o t h e d ef e ns e, t h e g o v er n m e nt o n c e

  a g ai n t a k es t h e u nt e n a bl e p ositi o n t h at

                                                                                ar e “ n ot m at eri all y r el e v a nt t o t h e el e m e nts

  of a S e cti o n 9 5 1 off e ns e ” b e c a us e t h e st at ut e “r e q uir es n oti c e t o t h e Att or n e y G e n er al. ” O p p.

  2 2. T h e g o v er n m e nt f ails t o r e c o g ni z e, h o w e v er, t h at

                                                                                   is i m p ort a nt n ot j ust t o t h e n oti c e el e m e nt

  of S e cti o n 9 5 1, b ut is p o w erf ul e vi d e n c e t h at n o a g e n c y r el ati o ns hi p e xist e d a n d t h at Mr. B arr a c k

  di d n ot b eli e v e t h at h e w as a n a g e nt of t h e U A E.

             As e x pl ai n e d i n t h e m oti o n t o c o m p el, Mr. B arr a c k h a d n o writt e n or v er b al a gr e e m e nt

  wit h t h e U A E, a n d t h e g o v er n m e nt’s a p p ar e nt t h e or y is t h at his a gr e e m e nt t o a ct s u bj e ct t o t h e

  U A E’s dir e cti o n a n d c o ntr ol c a n s o m e h o w b e i nf err e d s ol el y fr o m his a cti o ns. M ot. 7 -

  1 6 . U n d er t h at t h e or y, h o w e v er, a cti o ns t h at c o ntr a di ct t h e e xist e n c e of s u c h a n a gr e e m e nt, s u c h

  as                                                                                                                           , ar e hi g hl y

  e x c ul p at or y a n d m ust b e pr o d u c e d.



                                                                          6
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              T h e g o v er n m e nt’s p ositi o n is p arti c ul arl y ast o nis hi n g i n li g ht of its p u bli c cl ai m at t h e

   ti m e of Mr. B arr a c k’s arr est t h at h e h a d d e c ei v e d Mr. Tr u m p a n d t h e a d mi nistr ati o n.

   S p e cifi c all y, t h e t h e n-A cti n g Assist a nt Att or n e y G e n er al f or t h e N ati o n al S e c urit y Di visi o n

   a n n o u n c e d t h at t h e “ c o n d u ct all e g e d i n t h e i n di ct m e nt is n ot hi n g s h ort of a b etr a y al of t h os e

   offi ci als i n t h e U nit e d St at es, i n cl u di n g t h e f or m er Pr esi d e nt , ” a n d t h at t his i n di ct m e nt w as

   n e e d e d t o d et er s u c h “ u n dis cl os e d f or ei g n i nfl u e n c e. ” S e e B o w m a n D e cl. I S O R e pl y to M ot. t o

   C o m p el , E x. 2 (J ul y 2 0, 2 0 2 1 D OJ Pr ess R el e as e) (l ast a c c ess e d A pr. 1 0 , 2 0 2 2) ( e m p h asis

   a d d e d ). I n t h at s a m e pr ess r el e as e, t h e Assist a nt Dir e ct or i n C h ar g e of t h e F BI N Y Fi el d Offi c e

   ass ert e d t h at t h e i n di ct m e nt w as a b o ut “ s e cr et att e m pts t o i n fl u e n c e o ur hi g h est

   offi ci als. ” I d. W h e n Mr. B arr a c k r ais e d c o n c er ns wit h t h e g o v er n m e nt a b o ut t h es e f als e

   st at e m e nts i n t h e pr ess r el e as e, t h e g o v er n m e nt r es p o n d e d t h at t h es e st at e m e nts w er e a f air

   r e pr es e nt ati o n of t h e c o n d u ct all e g e d i n t h e i n di ct m e nt. S e e B o w m a n D e cl. I S O R e pl y M ot. t o

   C o m p el , E x. 3 at 2 ( A u g ust 2 6, 2 0 2 1 l ett er fr o m E D N Y t o c o u ns el f or Mr. B arr a c k). T h us, i n

   o n e br e at h t h e g o v er n m e nt cl ai ms t h at Mr. B arr a c k d e c ei v e d Mr. Tr u m p a n d t h e a d mi nistr ati o n

   a n d t h at s u c h e vi d e n c e is p art of its c as e, b ut i n t h e n e xt br e at h c o nt e n ds t h at c o ntr ar y e vi d e n c e is

   n eit h er r el e v a nt n or e x c ul p at or y a n d a p p ar e ntl y wit h h el d s u c h dis c o v er y o n t h at b asis .

              T h e g o v er n m e nt si mil arl y ar g u es t h at e vi d e n c e t h at Mr. B arr a c k t o o k a cti o ns a g ai nst t h e

   U A E’s i nt er ests, or t h at h e di d n ot f oll o w dir e cti o ns fr o m t h e U A E, is n ot e x c ul p at or y. O p p.

   2 1. S p e cifi c all y, t h e g o v er n m e nt ar g u es t h at r ef usi n g t o f oll o w c ert ai n r e q u ests, or a cti n g a g ai nst

   t h e U A E’s i nt er ests i n s o m e sit u ati o ns, h as n o r el e v a n c e t o w h et h er Mr. B arr a c k s e p ar at el y

   a gr e e d t o f oll o w ot h er p ur p ort e d dir e cti o ns fr o m t h e U A E. I d. B ut t h e g o v er n m e nt’s ar g u m e nt

   a g ai n r ests o n its mist a k e n b eli ef t h at a n y m ut u all y a gr e e d -u p o n a cti o n vi ol at es S e cti o n 9 5 1,

   r at h er t h a n a cti o ns t a k e n i n f urt h er a n c e of a n a g e n c y r el ati o ns hi p w h er e t h e d ef e n d a nt is s u bj e ct



                                                                            7
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   t o t h e dir e cti o n or c o ntr ol of t h e pri n ci p al. E vi d e n c e t h at Mr. B arr a c k a ct e d dir e ctl y c o ntr ar y t o

   t h e U A E’s i nt er ests r e g ar di n g its m ost i m p ort a nt f or ei g n p oli c y o bj e cti v e (t h e is ol ati o n of Q at ar

   d uri n g t h e 2 0 1 7 bl o c k a d e) is dis p ositi v e e vi d e n c e t h at Mr. B arr a c k n e v er a gr e e d t o a ct as a n

   a g e nt of t h e U A E a n d di d n ot b eli e v e t h at h e w as i n a n y w a y b o u n d t o f oll o w its

   dir e cti o ns. I n d e e d, t h at e vi d e n c e pr o v es Mr. B arr a c k ri g htl y b eli e v e d h e w as fr e e t o d o w h at h e

   w a nt e d , wit h o ut f oll o wi n g or d ers a n d dir e cti o ns fr o m a n y o n e, a f a ct t h at dis p os es of t h e

   g o v er n m e nt’s S e cti o n 9 5 1 c h ar g e.

              T h e g o v er n m e nt si mil arl y dis miss es as “ a bs ur d ” t h e e x c ul p at or y n at ur e of Mr. B arr a c k’s

   p urs uit of a di pl o m ati c p ositi o n i n L ati n A m eri c a i n mi d -2 0 1 7 at a ti m e w h e n h e w as all e g e d t o

   b e a U A E a g e nt . O p p. 2 1 , n. 8. B ut t h e f a ct t h at, d uri n g t h e ti m e p eri o d t h at h e w as all e g e d t o

   b e a U A E a g e nt s u bj e ct t o its dir e cti o ns a n d c o ntr ol, Mr. B arr a c k als o e nt h usi asti c all y s o u g ht

   di pl o m ati c p ositi o ns wit h n o c o n n e cti o n w h ats o e v er t o t h e Mi d dl e E ast is str o n g e vi d e n c e t h at

   Mr. B arr a c k w as n ot u n d er t h e U A E’s c o ntr ol. I nst e a d, it is t h e g o v er n m e nt’s pr e mis e t h at is

   a bs ur d — it m a k es n o s e ns e t h at a n a g e nt of t h e U A E, w h o h a d dir e ct a c c ess t o t h e Pr esi d e nt a n d

   t h e a bilit y t o i nfl u e n c e U nit e d St at es p oli c y, w o ul d v ol u nt aril y a b a n d o n a n y r ol e r el at e d t o t h e

   Mi d dl e E ast t o p urs u e p ositi o ns i n t h e a d mi nistr ati o n t h at h a d n o c o n c ei v a bl e b e n efit t o t he

   f or ei g n pri n ci p al. It is al ar mi n g t h at t h e g o v er n m e nt d o es n ot r e c o g ni z e t h e e x c ul p at or y n at ur e

   of s u c h e vi d e n c e.

              B.          T h e G o v e r n m e nt H as B e e n O r d e r e d t o P r o m ptl y P r o d u c e Br a d y M at e ri al.

              T h e g o v er n m e nt ar g u es t h at it h as n o o bli g ati o n t o pr o m ptl y pr o d u c e e x c ul p at or y

   i nf or m ati o n s o l o n g as it pr o d u c es Br a d y m at eri al i m m e di at el y b ef or e or d uri n g tri al.        O p p.

   1 9. T h e g o v er n m e nt b eli e v es t h at Mr. B arr a c k “ c a n n ot b e h e ar d t o c o m pl ai n a b o ut t h e ti mi n g ”

   of its o n g oi n g dis cl os ur es of Br a d y m at eri al, i d. at 1 8, e v e n t h o u g h tri al i n t his c as e is o nl y fi v e



                                                                          8
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   m o nt hs a w a y a n d t h e g o v er n m e nt c o nti n u es t o pr o d u c e e x c ul p at or y i nf or m ati o n t h at h as b e e n i n

   its p oss essi o n f or y e ars.

              R el yi n g o n c as es fi n di n g t h at t h er e w as n o vi ol ati o n of a d ef e n d a nt’s D u e Pr o c ess ri g hts

   w h e n Br a d y m at eri als w er e pr o d u c e d i n a d v a n c e of or e v e n d uri n g tri al, s e e i d. at 1 8 -1 9, t h e

   g o v er n m e nt n o n et h el ess pr o vi d es n o a ut h orit y or e x pl a n ati o n f or w h y s u c h d el a y e d dis cl os ur e is

   a n a p pr o pri at e or r e c o m m e n d e d a p pr o a c h. N or d o es t h e g o v er n m e nt e v e n a d dr ess t h e Br a d y

   Or d er iss u e d i n t his c as e, w hi c h cl e arl y pr o hi bits str at e gi c d el a y i n pr o d u ci n g Br a d y m at eri al a n d

   r e q uir es t h at all s u c h i nf or m ati o n m ust b e pr o d u c e d “ pr o m ptl y ” aft er “its e xist e n c e b e c o m es

   k n o w n t o t h e G o v er n m e nt. ” D kt. N o. 1 7 at 1.

              F urt h er, it is a p pr o pri at e f or c o urts t o or d er i m m e di at e pr o d u cti o n of Br a d y a n d Gi gli o

   i nf or m ati o n w h er e t h er e is “r e as o n f or s us p e cti n g t h e g o v er n m e nt will n ot c o m pl y ” wit h its

   dis c o v er y o bli g ati o ns. Cf. U nit e d St at es v. M o h a m e d , 1 4 8 F. S u p p. 3 d 2 3 2, 2 4 6 ( E. D. N. Y. 2 0 1 5)

   (c o urts t y pi c all y d o n ot c o m p el i m m e di at e dis cl os ur e of Br a d y a n d Gi gli o w h er e t h e d ef e ns e h as

   n ot pr o vi d e d “ a n y r e as o n f or s us p e cti n g t h e G o v er n m e nt will n ot c o m pl y ”) . S u c h a n or d er is

   es p e ci all y w arr a nt e d i n a c o m pl e x, m ulti -d ef e n d a nt c as e s o t h at t h e d ef e ns e h as s uffi ci e nt ti m e t o

   i n v esti g at e a n d m a k e eff e cti v e us e of t h e dis cl os ur e at tri al. S e e U nit e d St at es v. A p ar o , 2 2 1 F.

   S u p p. 2 d 3 5 9, 3 6 6 -6 7 ( E. D. N. Y. 2 0 0 2) ( or d eri n g e arl y dis cl os ur e of Gi gli o m at eri als i n m ulti -

   d ef e n d a nt c o ns pir a c y a n d r a c k et e eri n g c as e b e c a us e of c o m pl e xit y of c as e).

              S u c h cir c u mst a n c es e xist h er e, w h er e t h er e is a cl e ar r e c or d t h at ( 1) t h e e xist e n c e of

   p arti c ul ar e x c ul p at or y e vi d e n c e h as b e e n k n o w n t o t h e g o v er n m e nt f or y e ars, i n cl u di n g wit n ess

   st at e m e nts t h at r ef ut e t h e g o v er n m e nt’s a g e n c y t h e or y , ( 2) t h e g o v er n m e nt o nl y pr o d u c e d

   s el e cti v e i nf or m ati o n m o nt hs aft er t h e i n di ct m e nt a n d aft er s p e cifi c d e m a n ds fr o m Mr. B arr a c k,

   a n d ( 3) t h e g o v er n m e nt c o nti n u es t o i nsist t h at s u c h i nf or m ati o n is n ot e x c ul p at or y or e v e n



                                                                           9
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   r el e v a nt t o t h e c h ar g es. A d diti o n all y, t h e c o m pl e xit y of t his m ulti-d ef e n d a nt c as e a n d t h e s h e er

   v ol u m e of dis c o v er y w arr a nt pr o m pt dis cl os ur e. I n d e e d, t h e C o urt h as iss u e d s u c h a n or d er i n

   t his c as e; t h e g o v er n m e nt h as j ust n ot f oll o w e d it.

              C.         T h e G o v e r n m e nt’s R e p r es e nt ati o n T h at It “ K n o ws Its O bli g ati o ns a n d Will
                         C o m pl y W it h T h e m ” D o es N ot I ns ul at e It F r o m J u di ci al O v e rsi g ht O f Its
                         P r o d u cti o n O f E x c ul p at o r y E vi d e n c e .

              T h e g o v er n m e nt s u g g ests t h at it d es er v es si g nifi c a nt d ef er e n c e a n d t h at t h e m oti o n s h o ul d

   b e d e ni e d s ol el y b as e d o n t h e g o v er n m e nt’s r e pr es e nt ati o n ( m a d e i n its pri or dis c o v er y l ett ers

   a n d i n its o p p ositi o n) t h at it “ u n d erst a n ds its o bli g ati o ns ” a n d “ will c o nti n u e t o c o m pl y ” wit h

   t h e m. S e e, e. g., O p p. 1, 1 4, 2 6.

              B ut t h e m er e r e cit ati o n of t his b oil er pl at e l a ng u a g e d o es n ot j ustif y f or e g oi n g j u di ci al

   o v ersi g ht of t h e g o v er n m e nt’s o bli g ati o ns i n t his c as e. It is h ar d t o i m a gi n e a c as e w h er e t h e

   g o v er n m e nt w o ul d r e pr es e nt t h at it di d n ot u n d erst a n d its dis c o v er y o bli g ati o ns, or w h er e it

   w o ul d a d mit t h at it u n d er st o o d b ut w o ul d n ot c o m pl y wit h t h e m.

              If t h e g o v er n m e nt’s m er e i n c a nt ati o n of t his l a n g u a g e w er e s uffi ci e nt t o b ar a n y m oti o n

   t o c o m p el, j u di ci al e nf or c e m e nt of t h e g o v er n m e nt’s dis c o v er y o bli g ati o ns i n cri mi n al

   pr os e c uti o ns w o ul d b e a n ullit y. W hil e t h e g o v er n m e nt r eli es o n t w o distri ct c o urt c as es fr o m

   2 0 1 5 a n d 2 0 1 6, m u c h h as c h a n g e d si n c e t h os e or d ers w er e iss u e d. Si n c e t h at ti m e , s e v er al

   distri ct c o urts i n t h e S e c o n d Cir c uit h a v e b e e n f or c e d t o s a n cti o n t h e g o v er n m e nt i n t h e f a c e of

   r e p e at e d, b el at e d dis cl os ur es of e x c ul p at or y e vi d e n c e, i n cl u di n g c as es w h er e t h e g o v er n m e nt di d

   n ot gi v e a p pr o pri at e w ei g ht t o t h e e x c ul p at or y n at ur e of i nf or m ati o n a c q uir e d d uri n g pri or

   wit n ess i nt er vi e ws . S e e U nit e d St at es v. N ej a d , 4 8 7 F. S u p p. 3 d 2 0 6, 2 0 7, 2 1 2 -1 3 ( S. D. N. Y.

   2 0 2 0) ( c o n cl u di n g, a m o n g ot h er t hi n gs, t h at pr os e c ut ors’ f ail ur e t o c o nsi d er w h et h er c ert ai n

   g o v er n m e nt i nt er vi e ws w er e r e q uir e d t o b e pr o d u c e d u n d er Br a d y w as “s h o c ki n g, ” t h at e v e n if

   t h e y di d n ot ris e t o t h e l e v el of Br a d y m at eri al t h e y n e v ert h el ess s h o ul d h a v e b e e n dis cl os e d i n
                                                                         10
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   a d v a n c e of tri al, a n d i d e ntif yi n g s yst e mi c pr o bl e ms t h at r es ult e d i n dis c o v er y vi ol ati o ns); U ni t e d

   St at es v. M or g a n , 4 9 3 F. S u p p. 3 d 1 7 1 ( W. D. N. Y. 2 0 2 0) ( dis missi n g i n di ct m e nt b as e d o n

   g o v er n m e nt mis h a n dli n g of a n d f ail ur e t o ti m el y dis cl os e dis c o v er y); U nit e d St at es v. J ai n , 2 0 2 0

   U. S. Dist. L E XI S 1 8 9 2 0 3, * 2 -3 ( S. D. N. Y. O ct. 1 3, 2 0 2 0) ( or d eri n g r e m e di al a cti o n b y t h e

   U nit e d St at es Att or n e y’s Offi c e a n d t h e N e w Y or k F BI Fi el d Offi c e b as e d o n “i n e x c us a bl e

   f ail ur es [t h at] b es p e a k of n e gli g e n c e ” t o pr o d u c e ti m el y dis c o v er y).

              W hil e t h e p ost ur e of t h os e c as es is diff er e nt fr o m t h e sit u ati o n h er e, t h e dis c o v er y

   vi ol ati o ns i n t h os e m att ers d e m o nstr at e t h at t h er e c a n b e s u bst a nti al ris ks t o all o wi n g t h e

   g o v er n m e nt t o p oli c e its o w n dis c o v er y eff orts, a n d t h at j u di ci al o v ersi g ht of t h e i d e ntifi c ati o n

   a n d pr o d u cti o n of e x c ul p at or y e vi d e n c e is es s e nti al. T h at is p arti c ul arl y tr u e w h er e, as h er e, t h e

   g o v er n m e nt c o nti n u es t o i n c orr e ctl y i nsist t h at wit n ess st at e m e nts u n d er mi ni n g t h e e xist e n c e of

   a n a g e n c y r el ati o ns hi p ar e n ot e x c ul p at or y, m u c h l ess r el e v a nt t o d ef e n di n g t h e c h ar g es i n t h e

   c as e.

              D.         T h e M oti o n t o C o m p el Is N ot M o ot e d B y t h e G o v e r n m e nt’s P ri o r P r o d u cti o n
                         of M at e ri als o r R e p r es e nt ati o n T h at It Will C o nti n u e t o P r o d u c e t h e
                         R e q u est e d D o c u m e nts.

              T h e g o v er n m e nt’s o p p ositi o n r e p e at e dl y hi g hli g hts t h e v ol u m e of d o c u m e nts it h as

   pr o d u c e d t o d a t e, n oti n g t h at it h as pr o d u c e d i nf or m ati o n o bt ai n e d fr o m a l ar g e n u m b er of s e ar c h

   w arr a nts a n d s u b p o e n as, i n cl u di n g pr o d u cti o n of m or e t h a n 6 0 0, 0 0 0 fil es i n t h e first fi v e m o nt hs

   of t h e c as e. O p p. 6. B ut t h e r el e v a nt m e as ur e of t h e g o v er n m e nt’s c o m pli a n c e wit h its dis c o v er y

   o bli g ati o ns is n ot h o w m u c h it h as pr o d u c e d t o d at e, b ut i nst e a d w h at it h as n ot y et pr o d u c e d a n d

   t h e a d e q u a c y of its eff orts t o l o c at e a n d pr o d u c e as-y et -u n dis cl os e d i nf or m ati o n t o t h e d ef e ns e.

   A n d w hil e t h e g o v er n m e nt t o uts its pr o d u cti o n eff orts, it n e v ert h el ess c o nti n u es ( ni n e m o nt hs

   aft er t h e i n di ct m e nt) t o pr o d u c e d o c u m e nts t h at h a v e b e e n i n its p oss essi o n si n c e 2 0 1 8 a n d 2 0 1 9.

   S e e , e. g., B o w m a n D e cl. I S O R e pl y M ot. t o C o m p el, E x. 1 ( A pril 5, 2 0 2 2 l ett er fr om E D N Y t o
                                                                          11
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   c o u ns el f or Mr. B arr a c k) ( pr o d u ci n g r e c or ds o bt ai n e d fr o m                     , w hi c h w er e pr o d u c e d t o

   t h e g o v er n m e nt i n M ar c h 2 0 1 8); B o w m a n D e cl. I S O R e pl y M ot. t o C o m p el, E x. 4 (J a n u ar y 2 7,

   2 0 2 2 l ett er fr o m E D N Y t o c o u ns el f or Mr. B arr a c k) ( pr o d u ci n g s e ar c h w arr a nts iss u e d b y E D N Y

   a n d r el at e d r e c or ds fr o m A pril 2 0 1 9).

              T hr o u g h o ut its o p p ositi o n, t h e g o v er n m e nt hi g hli g hts t h e f a ct t h at Mr. B arr a c k is usi n g

   i nf or m ati o n pr o d u c e d b y t h e g o v er n m e nt t o s u p p ort a m oti o n r aisi n g c o n c er ns a b o ut t h e

   g o v er n m e nt’s di s c o v er y eff orts. O p p. 1, 1 8 -1 9, 2 3 n. 9. H a d t h e g o v er n m e nt pr o m ptl y pr o d u c e d

   t h es e m at eri als of its o w n a c c or d, w hi c h it w as o bli g at e d t o d o, t his w o ul d b e a v ali d p oi nt.

   I nst e a d, t h e g o v er n m e nt pr o d u c e d t h es e m at eri als y e ars aft er t h eir e xist e n c e w as k n o w n, s e v er al

   m o nt hs aft er t h e i n di ct m e nt, a n d o nl y i n r es p o ns e t o r e p e at e d, d et ail e d d e m a n ds fr o m t h e

   d ef e ns e. T h us, Mr. B arr a c k’s c o n c er n is n ot o v er t h e m at eri als t h at h a v e fi n all y b e e n pr o d u c e d,

   b ut i nst e a d (i n li g ht of t h e g o v er n m e nt’s a p pr o a c h a n d m is u n d erst a n di n g of w h at is e x c ul p at or y)

   a b o ut w h at m at eri al t h e g o v er n m e nt h as n ot y et pr o vi d e d. I n d e e d, t h at t h e g o v er n m e nt pr o d u c e d

   hi g hl y e x c ul p at or y i nf or m ati o n o n t h e s a m e d a y t h at it fil e d its o p p ositi o n (fr o m a 2 0 1 8

   i nt er vi e w t h at t h e g o v er n m e nt h ad pr e vi o usl y r e vi e w e d i n O ct o b er 2 0 2 1 f or e x c ul p at or y

   i nf or m ati o n) r ais es c o n c er ns o v er t h e g o v er n m e nt’s eff orts r at h er t h a n dis p els t h e m. It als o

   d e m o nstr at es w h y it is n e c ess ar y f or t h e g o v er n m e nt t o pr o d u c e t h e c o m pl et e d o c u m e nts (s u c h as

   t h e f ull i nt er vi e w m e m or a n d a) t h at i n cl u d e t h es e st at e m e nts a n d w h y t h e g o v er n m e nt’s “ o n e- t o

   t w o-s e nt e n c e s u m m ari es of [t h e] i nf or m ati o n, ” O p p. 2 0, ar e n ot s uffi ci e nt.

              L astl y, t h e g o v er n m e nt ass erts t h at t h e m oti o n s h o ul d b e d e ni e d b e c a us e, e v e n t h o u g h it

   dis a gr e es t h at t h e r e q u est e d i nf or m ati o n is dis c o v er a bl e, it n e v ert h el ess i nt e n ds t o v ol u nt aril y

   pr o d u c e t h at i nf or m ati o n t o t h e d ef e ns e. S e e, e. g., O p p. 1, 2 1, 2 3 -2 4, 2 7. B ut t h e g o v er n m e nt’s

   g e n er al r e pr es e nt ati o n t h at it will pr o d u c e m at eri als d e m a n d e d b y Mr. B arr a c k, w hil e o bj e cti n g



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   t h at s u c h i nf or m ati o n is n ot dis c o v er a bl e, is n o s u bstit ut e f or a C o urt or d er t h at it m ust d o s o.

   T h e r eli ef s o u g ht b y Mr. B arr a c k is n e c ess ar y t o e ns ur e t h at t h e g o v er n m e nt a p pli es a br o a d vi e w

   of w h at i nf or m ati o n is e x c ul p at or y a n d m at eri al t o t h e pr e p ar ati o n of t h e d ef e ns e u n d er R ul e

   1 6 ( a)( 1)( E), e x p e diti o usl y a n d dili g e ntl y i n v esti g at es a n d pr o d u c es all s u c h i nf or m ati o n, a n d

   c o m pl et es t h e pr o d u cti o n of t his dis c o v er y i n a d v a n c e of t h e CI P A pr o c e e di n gs a n d t h e tri al.

   II.        T H E G O V E R N M E N T ’S O P P O SI TI O N R AI S E S C O N C E R N S R E G A R DI N G I T S
              H A N D LI N G O F M A T E RI A L S R E L A TI N G T O M R. B A R R A C K ’S I N T E R VI E W
              A N D T H E F A LS E S T A T E M E N T C H A R G ES .

              Fi v e of t h e s e v e n f el o n y c h ar g es i n t his c as e ar e b as e d o n st at e m e nts Mr. B arr a c k

   all e g e dl y m a d e d uri n g a n i nt er vi e w i n J u n e 2 0 1 9. A c o m pl et e a n d a c c ur at e r e c or d of t his

   i nt er vi e w w o ul d d e m o nstr at e t h at Mr. B arr a c k is i n n o c e nt of t h es e c h ar g es.     B ut t h e g o v er n m e nt

   di d n ot cr e at e or pr es er v e s u c h a r e c or d — o nl y o n e of t h e si x g o v er n m e nt p arti ci p a nts at t h e

   i nt er vi e w a p p ar e ntl y t o o k a si n gl e n ot e. Mr. B arr a c k’s m oti o n s e e ks w h at e v er a d diti o n al

   i nf or m ati o n t h e g o v er n m e nt h as r e g ar di n g t h e st at e m e nts m a d e d uri n g t h e i nt er vi e w a n d t h e

   r e c or d t h e g o v er n m e nt h as of his st at e m e nts, i n cl u di n g i nf or m ati o n a b o ut w h at it di d n ot r et ai n

   a n d w h y.

              T his b asi c i nf or m ati o n — s u c h as pri or dr afts of t h e F D -3 0 2 m e m or a n d u m , t h e i d e ntit y of

   a n y o n e w h o r e vis e d t h at m e m or a n d u m, a n d w h et h er pri or dr afts or n ot es pr e vi o usl y e xist e d b ut

   w er e n ot pr es er v e d — is i n t h e g o v er n m e nt’s p oss essi o n, is n ot s e nsiti v e or c o nfi d e nti al, a n d

   c o ul d e asil y b e pr o vi d e d. T his dis c o v er y is ess e nti al t o Mr. B arr a c k’s d ef e ns e, n ot o nl y t o ass ess

   t h e a c c ur a c y a n d r eli a bilit y of t h e F D-3 0 2 m e m or a n d u m a n d t h e n ot es (i n clu di n g t h e a g e nt ’s

   cr e di bilit y ) a n d t h e g o v er n m e nt’s a p pr o a c h t o m a ki n g a r e c or d of t h e all e g e d f als e st at e m e nts ,

   b ut als o t o d et er mi n e w h et h er t w o m e m b ers of t h e pr os e c uti o n t e a m w h o att e n d e d t h e i nt er vi e w

   h a v e a p ot e nti al c o nfli ct u n d er t h e a d v o c at e -wit n e ss r ul e.



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             W hil e t h e g o v er n m e nt cl ai ms t h at it h as t a k e n a “ br o a d ” a n d “ c o ns er v ati v e ” a p pr o a c h t o

   dis c o v er y i n t his c as e, it c o nfir ms it will n ot pr o d u c e t h e r e q u est e d i nf or m ati o n— n ot i n t h e

   i nt er ests of j usti c e, s af et y, or c o nfi d e nti alit y, b ut i nst e a d b e c a us e it b eli e v es it is si m pl y “ n ot

   r e q uir e d ” t o d o s o . O p p. 2 5. W hil e t h e g o v er n m e nt h as a n o bli g ati o n t o pr o d u c e t his dis c o v er y

   u n d er R ul e 1 6, Br a d y , a n d pri n ci pl es of f u n d a m e nt al f ai r n ess, p arti c ul arl y i n a f als e -st at e m e nts

   c as e w h er e “ w h at is a ct u all y s ai d b y a d ef e n d a nt b e c o m es a criti c all y i m p ort a nt p art of a n y

   pr os e c uti o n u n d er § 1 0 0 1, ” U nit e d St at es v. P o utr e , 6 4 6 F. 2 d 6 8 5, 6 8 8 ( 1st Cir. 1 9 8 0) (e n b a n c ),

   it is cl e ar t h at t h e g o v er n m e nt h er e i nt e n ds t o pr o d u c e as littl e i nf or m ati o n as p ossi bl e a n d d o es

   n ot w a nt t o pr o vi d e d o c u m e nts r efl e cti n g Mr. B arr a c k’s st at e m e nts ( or ot h er wis e a c c o u nt f or

   w h y it h as n ot pr es er v e d s u c h m at eri als).

             As j ust o n e e x a m pl e of t h e g o v er n m e nt’s a p pr o a c h, it c o nti n u es t o r ef us e t o i d e ntif y t h e

   F BI a g e nt w h o t o o k h a n d writt e n n ot es d uri n g Mr. B arr a c k’s i nt er vi e w or t h e a g e nt w h o dr aft e d

   t h e F D-3 0 2 m e m or a n d u m.       W h er e Mr. B arr a c k is alr e a d y a w ar e of t h e i d e ntiti es of t h e a g e nts

   w h o w er e pr es e nt at t h e i nt er vi e w (i n d e e d, h e m et wit h t h e m), t h er e is n o pri v a c y or s e c urit y

   c o n c er n i m pli c at e d b y dis cl osi n g w hi c h of t h es e p arti ci p a nts w as t h e a ut h or of t h e n ot es as w ell

   as t h e i d e ntit y of t h e a g e nt w h o dr aft e d t h e i nt er vi e w m e m or a n d u m. B ut t h e g o v er n m e nt

   c o nti n u es t o r ef us e t o pr o vi d e t his b asi c i nf or m ati o n. O p p. 2 5 -2 6. M or e o v er, w h er e Mr. B arr a c k

   h as alr e a d y m a d e a s p e cifi c s h o wi n g of i n c o nsist e n ci es b et w e e n t h e a g e nt’s n ot es a n d t h e F D -

   3 0 2 m e m or a n d u m, M ot. 1 9 -2 0 , i n c o nsist e n ci es t h at t h e g o v er n m e nt d o es n ot dis p ut e, O p p. 2 5 ,

   pr o m pt dis cl os ur e is r e q uir e d. S e e U nit e d St at es v. N a c h a mi e , 9 1 F. S u p p. 2 d 5 6 5, 5 7 9

   ( S. D. N. Y. 2 0 0 0) ( m a n d ati n g e arl y dis cl os ur e of g o v er n m e nt wit n ess i d e ntiti es w h er e d ef e n d a nt

   m a d e s h o wi n g t h at “ dis cl os ur e [is] b ot h m a t eri al t o t h e pr e p ar ati o n of his d ef e ns e a n d r e as o n a bl e

   i n li g ht of t h e cir c u mst a n c es s urr o u n di n g his c as e ”) ( alt er ati o n i n ori gi n al).



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              R e g ar di n g Mr. B arr a c k’s r e q u est f or pri or dr afts of t h e F D -3 0 2 m e m or a n d u m , t h e

   g o v er n m e nt a gr e es (f or t h e first ti m e i n its o p p ositi o n) t h at it will dis cl os e pri or dr afts t o t h e

   d ef e ns e t o t h e e xt e nt it l o c at es s u c h m at eri als, b ut cl ai ms t h at it is “ u n a w ar e of a n y a d diti o n al

   dr afts of t h e F D -3 0 2 r e p ort. ” O p p. 2 4. T h at r e pr es e nt ati o n is c o ntr a di ct e d, h o w e v er, b y t h e f a ct

   t h at t h e ( u ni d e ntifi e d) a g e nt b e g a n dr afti n g t h e m e m or a n d u m o n J u n e 2 4, 2 0 1 9, a n d t h at t h e

   m e m or a n d u m w as n ot fi n ali z e d a n d e nt er e d i nt o t h e s yst e m u ntil s e v er al w e e ks l at er, o n J ul y 1 9,

   2 0 1 9. S e e B o w m a n D e cl. I S O M ot. t o C o m p el, E x. 1 2 ( F D-3 0 2 M e m or a n d u m of Mr. B arr a c k’s

   J u n e 2 0 1 9 I nt er vi e w) ; s e e als o G o v’t O p p. t o M ot. t o Dis miss, D kt. N o. 8 0 , at 4 3, n. 1 4. If t h e

   d at es r efl e ct e d o n t h e m e m or a n d u m ar e a c c ur at e, t h e n at a mi ni m u m at l e ast t w o dr afts ( o n e

   pr e p ar e d o n J u n e 2 4, 2 0 1 9 a n d t h e ot h er o n J ul y 1 9, 2 0 1 9) s h o ul d e xist. A n d gi v e n t h e l o n g ti m e

   p eri o d b ef or e t h e m e m or a n d u m w as fi n ali z e d, it is i m pl a usi bl e t h at a d diti o n al dr afts of t h e

   m e m or a n d u m w er e n ot pr e p ar e d d uri n g t h e s e v er al w e e ks b ef or e t h e m e m or a n d u m w as

   c o m pl et e d, or t h at t h os e dr afts w er e n ot s h ar e d wit h ot h er m e m b ers of t h e pr os e c uti o n t e a m.

              If t h e g o v er n m e nt’s r e pr es e nt ati o n i n its o p p ositi o n is tr u e, t h e n eit h er t h e 2 3-p a g e F D -

   3 0 2 m e m or a n d u m w as c o m pl et e d i n a si n gl e s essi o n ( b ut n ot e nt er e d i nt o t h e F BI s yst e m or

   fi n ali z e d f or s e v er al m or e w e e ks), or els e t h e g o v er n m e nt di d n ot pr es er v e pri or dr afts of t h e

   m e m or a n d u m, i n cl u di n g v ersi o ns r efl e cti n g c o m m e nts or i n p ut fr o m ot h er F BI a g e nts or t h e

   pr os e c ut ors o n t h e c as e . T h e g o v er n m e nt h as ass ert e d t h at Mr. B arr a c k s h o ul d h a v e “ e v er y

   o p p ort u nit y ” t o c o nt est t h e r e c or d, or l a c k of it, r e g ar di n g t h e all e g e d f als e st at e m e nts a n d t h e

   a g e nt’s cr e di bilit y at tri al. M ot. 1 6 ( q u oti n g G o v’t O p p. t o M ot. t o Dis miss, D kt. N o. 8 0 at 4 5).

   T o h a v e t h at o p p ort u nit y, Mr. B arr a c k is e ntitl e d t o k n o w w h at h a p p e n e d b et w e e n J u n e a n d J ul y

   2 0 1 9, i n cl u di n g w h y pri or dr afts of t h e m e m or a n d u m w er e n ot r et ai n e d, w h at c o m m u ni c ati o ns or

   ot h er d o c u m e nts e xist r efl e cti n g i n p ut fr o m t h e c as e a g e nts or f e d er al pr os e c ut ors, a n d w h et h er



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   ot h er m e m b ers of t h e pr os e c uti o n t e a m h a v e d o c u m e nts or c o m m u ni c ati o ns t h at r efl e ct t h e

   q u esti o ns or t h e a ns w ers fr o m t h e i nt er vi e w. T o t h e e xt e nt pri or dr afts or ot h e r n ot es w er e n ot

   r et ai n e d, t h e g o v er n m e nt h as a n o bli g ati o n t o dis cl os e t h at f a ct t o t h e d ef e ns e s o t h at Mr. B arr a c k

   c a n c o nsi d er a p pr o pri at e st e ps a n d p ot e nti al r e m e di es f or f aili n g t o pr es er v e e vi d e n c e r el ati n g t o

   t h es e c h ar g es.

              T his dis c o v er y is e q u all y n e c ess ar y t o d et er mi n e w h et h er g o v er n m e nt c o u ns el’s

   i n v ol v e m e nt i n Mr. B arr a c k’s i nt er vi e w p os es a c o nfli ct at tri al u n d er t h e a d v o c at e -wit n ess r ul e.

   S e e M o d el R ul e s of Pr of essi o n al C o n d u ct R ul e 3. 7( a) . T h e g o v er n m e nt h as r e pr es e nt e d t h at it is

   o bli g at e d t o r ais e all p ot e nti al c o nfli cts wit h t h e C o urt a n d r e c e ntl y ar g u e d t h at




   G o v’t C ur ci o M ot. , D kt. N o. 8 6 at 8. W hil e t h os e ar g u m e nts w er e fri v ol o us i n t h at c o nt e xt, h er e

   th e f a ct t h at t w o m e m b ers of t h e pr os e c uti o n t e a m ( A U S A R y a n H arris a n d D OJ Tri al Att or n e y

   M att h e w M c K e n zi e) p arti ci p at e d i n Mr. B arr a c k ’s i nt er vi e w a n d ar e first -h a n d wit n ess es t o fi v e

   of t h e s e v e n c h ar g es i n t his c as e m a y p os e a si g nifi c a nt a d v o c at e -wit n ess c o nfli ct.

              U n d er t h es e cir c u mst a n c es , Mr. B arr a c k is e ntitl e d t o t h e dis c o v er y d e m a n d e d i n his

   m oti o n i n or d er t o d et er mi n e w h et h er t w o of t h e g o v er n m e nt’s att or n e ys at tri al c a n et hi c all y

   r e pr es e nt t h e g o v er n m e nt b ef or e t h e j ur y wit h o ut i m p arti n g t h eir “first-h a n d k n o wl e d g e of t h e

   e v e nts ” or w h et h er eit h er pr os e c ut or’s k n o wl e d g e of t h e all e g e d st at e m e nts or a cti o ns f oll o wi n g

   t h e i nt ervi e w m a k e t h e m a p pr o pri at e wit n ess es i n t his c as e . I d. T h e g o v er n m e nt s h o ul d

   t h er ef or e b e or d er e d t o dis cl os e w h et h er a n y g o v er n m e nt c o u ns el t o o k n ot es of t h e i nt er vi e w,

   pr es er v e d a n y s u c h n ot es ( or f ail e d t o pr es er v e t h e m), r e vis e d t h e F D-3 0 2 m e m or a n d u m or



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   pr o vi d e d i n p ut o n its c o nt e nts b ef or e it w as fi n ali z e d , or ot h er wis e h a v e d o c u m e nts or

   c o m m u ni c ati o ns r efl e cti n g Mr. B arr a c k’s st at e m e nts .

   III.       T HE G O VE R N ME NT S H O UL D BE O R DE RE D T O P R O D U CE BRA DY A N D
              R U L E 1 6 M A T E RI A L S I N A D V A N C E O F T H E M A Y 1 9, 2 0 2 2 CI P A H E A RI N G

              T h e g o v er n m e nt s u g g ests t h at t h e p arti es c o nti n u e t o m e et -a n d -c o nf er as t h e c as e m o v es

   cl os er t o tri al. O p p. 1 , 6-7 . B ut c o nti n ui n g t o m e et -a n d -c o nf er a n d h o pi n g t h at t h e g o v er n m e nt

   pr o d u c es all Br a d y a n d R ul e 1 6 m at eri al b ef or e tri al is n o l o n g er a w or k a bl e a p pr o a c h f or

   dis c o v er y i n t his c as e. T his is p arti c ul arl y tr u e i n li g ht of t h e g o v er n m e nt’s v astl y diff er e nt vi e w

   of S e cti o n 9 5 1 a n d its c orr es p o n di n g dis c o v er y o bli g ati o ns. F urt h er, wit h tri al onl y fi v e m o nt hs

   a w a y, a n d wit h si g nifi c a nt h e ari n gs o nl y a m o nt h a w a y (s u c h as t h e d ef e ns e ’s i n c a m er a CI P A

   h e ari n g wit h t h e C o urt o n M a y 1 9 , 2 0 2 2), Mr. B arr a c k s h o ul d n ot b e f or c e d t o pr o d t h e

   g o v er n m e nt f or e x c ul p at or y m at eri al i n its p oss essi o n t h at it h as a n i n d e p e n d e nt o bli g ati o n t o

   l o c at e a n d pr o d u c e.

              Mr. B arr a c k is e ntitl e d t o c ert ai nt y o n t h e r e c or d f or tri al a n d t h e c as e h e will b e

   d ef e n di n g . Wit h o ut a d e a dli n e f or pr o d u cti o n of all e x c ul p at or y a n d m at eri al i nf or m ati o n t o t h e

   d ef e ns e, t h e g o v er n m e nt’s d el a ys a n d pi e c e m e al pr o d u cti o ns si g nifi c a ntl y i m p air Mr. B arr a c k’s

   a bilit y t o pr e p ar e f or tri al, i n cl u di n g i d e ntif yi n g p ot e nti all y r el e v a nt t esti m o n y fr o m wit n ess es i n

   t h e U nit e d St at es a n d o v ers e as, pr e p ari n g f or t h e CI P A pr o c e e di n gs , a n d s er vi n g s u b p o e n as f or

   wit n ess es a n d d o c u m e nts . Mr. B arr a c k s h o ul d n ot h a v e t o c h o os e b et w e e n s a crifi ci n g his

   S p e e d y Tri al ri g hts or r e c ei vi n g t h e dis c o v er y t o w hi c h h e is e ntitl e d si m pl y b e c a us e t h e

   g o v er n m e nt is u n pr e p ar e d or u n a bl e t o m a k e fir m c o m mit m e nts a b o ut its dis cl os ur e o bli g ati o ns .

                                                              C O N C L U SI O N

              F or t h e r e as o ns pr o vi d e d i n Mr. B arr a c k’s o p e ni n g m oti o n a n d a b o v e , t his C o urt s h o ul d

   c o m p el t h e g o v er n m e nt t o dis cl os e t o t h e d ef e ns e b y n o l at er t h a n M a y 1, 2 0 2 2, all m at eri al t o


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   w hi c h h e is e ntitl e d p urs u a nt t o R ul e 1 6 a n d Br a d y i n t h e g o v er n m e nt’s p oss essi o n, c ust o d y, or

   c o ntr ol, i n cl u di n g t h e s p e cifi c c at e g ori es of m at eri als i d e ntifi e d i n t h e “ R eli ef R e q u est e d ” s e cti o n

   of t h e m oti o n t o c o m p el, as w ell as pr o vi d e a st at us r e p ort r e g ar di n g t h e c oll e cti o n a n d

   pr o d u cti o n of m at eri als fr o m f e d er al e x e c uti v e a g e n ci es .

    D at e d: A pril 1 2, 2 0 2 2                                              R es p e ctf ull y s u b mitt e d,
              N e w Y or k, N Y
                                                                               O’ M E L V E N Y & M Y E R S L L P

                                                                               /s/ D a ni el M. P etr o c elli _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
                                                                               D a ni el M. P etr o c elli ( a d mitt e d pr o h a c vi c e )
                                                                               1 9 9 9 A v e n u e of t h e St ars, 8t h Fl o or
                                                                               L os A n g el es, C A 9 0 0 6 7
                                                                               T el e p h o n e: ( 3 1 0) 5 5 3 -6 7 0 0
                                                                               F a csi mil e: ( 3 1 0) 2 4 6 -6 7 7 9
                                                                               E -m ail: d p etr o c elli @ o m m. c o m

                                                                               J a m es A. B o w m a n ( a d mitt e d pr o h a c vi c e )
                                                                               4 0 0 S o ut h H o p e Str e et, 1 8t h Fl o or
                                                                               L os A n g el es, C A 9 0 0 7 1
                                                                               T el e p h o n e: ( 2 1 3) 4 3 0 -6 0 0 0
                                                                               F a csi mil e: ( 2 1 3) 4 3 0 -6 4 0 7
                                                                               E -m ail: j b o w m a n @ o m m. c om

                                                                               Ni c ol e M. Ar g e nti eri
                                                                               Ti m es S q u ar e T o w er
                                                                               7 Ti m es S q u ar e
                                                                               N e w Y or k, N e w Y or k 1 0 0 3 6
                                                                               T el e p h o n e: ( 2 1 2) 3 2 6 -2 0 0 0
                                                                               F a csi mil e: ( 2 1 2) 3 2 6 -2 0 6 1
                                                                               E -m ail: n ar g e nti eri @ o m m. c o m

                                                                               Att or n e y s f or T h o m as J. B arr a c k , Jr.




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